                  Case 1:18-cv-02406-APM Document 1 Filed 10/21/18 Page 1 of 14



1

2                                 UNITED STATES DISTRICT COURT
                                      DISTRICT OF COLUMBIA
3

4
     CHRISTINA CARREIRA
5    38940 Polo Club Drive
     Farmington Hills, MI 48335
6
                                                          Case No.:
7
     Plaintiff,
8
             against                                      COMPLAINT
9

10

11

12
     UNITED STATES CITIZENSHIP AND
13   IMMIGRATION SERVICES,
     20 Massachusetts Ave NW,
14   Washington DC 20529
15

16

17                              Defendant.
18

19                                             COMPLAINT

20                                            BACKGROUND
21
     1. This case involves review under the Administrative Procedure Act of a decision of the United
22
         States Citizenship and Immigration Services (USCIS) denying a petition by the plaintiff,
23
         Christina Carriera, to be classified as an alien of extraordinary ability under 8 U.S.C. §
24

25

26
       COMPLAINT                                          Michael E Piston (P34568)
                                                          Attorney for the Plaintiff
27                                                        225 Broadway, Ste 307
                                                          New York, NY 10007
28                                                        646-845-9895
                                                          michaelpiston4@gmail.com


                                                    -1-
              Case 1:18-cv-02406-APM Document 1 Filed 10/21/18 Page 2 of 14



1       1153(b)(1)(A) so as to be able to compete for the United States at all international events,

2       including, hopefully, the Beijing 2022 Winter Olympics.
3
     2. As will quickly become apparent, the denial of this petition was arbitrary and capricious in
4
        the extreme in that the USCIS’s weird conclusion that “silver and gold awards at national and
5
        international .. ice skating competitions,” are not “nationally or internationally recognized
6

7       prizes or awards for excellence in the field of endeavor, because it is limited to members of

8       that association and participants of those competitions”, Exhibit 4 at 5, is entirely irrational,
9
        in that such limitations on the winners of such awards is completely unrelated to the ultimate
10
        issue of whether they are nationally or internationally recognized. In fact, World Junior
11
        Championship awards are the highest the world of junior ice dance skating has to offer.
12

13   3. Furthermore, consistent application of the USCIS’s reasoning would also make the Heisman

14      Trophy or the National Football League’s Most Valuable Player Award not a recognized
15
        prize or award for excellence in the field of endeavor, because the Heisman Trophy is limited
16
        to students at accredited universities and the MVP award to members of National Football
17
        League teams and, of course, to win either award one must necessarily have participated in
18

19      college or NFL football games, respectively.

20   4. Indeed, the application of this reasoning would even make an Olympic Gold Medal not a
21      nationally or internationally recognized award, since it too is awarded only to members of the
22
        various competing states’ Olympic teams who actually participate in the Olympic Games.
23
     5. Since the USCIS’s failure to credit Ms. Carriera with three of the ten criteria of extraordinary
24

25
        ability set forth in 8 C.F.R. § 204.5(h)(3) was the sole basis for denial of her petition, Exhibit

26
       COMPLAINT                                          Michael E Piston (P34568)
                                                          Attorney for the Plaintiff
27                                                        225 Broadway, Ste 307
                                                          New York, NY 10007
28                                                        646-845-9895
                                                          michaelpiston4@gmail.com


                                                    -2-
                Case 1:18-cv-02406-APM Document 1 Filed 10/21/18 Page 3 of 14



1         4 at 7, and the agency conceded that Ms. Carriera did satisfy at least two of these criteria,

2         Exhibit 4 at 5, its nonsensical refusal to recognize her awards in the field of junior ice
3
          dancing (such as, to cite but one prominent example, the Gold Medal in the 2018 United
4
          States National Junior Championships) solely “because it is limited to members of that
5
          association and participants of those competitions” renders the decision denying this petition
6

7         arbitrary, capricious, and in fact, absurd.

8

9
                                 STATEMENT OF UNDISPUTED FACTS1
10
     6. Christina Carriera is a citizen and national of Canada currently lawfully present in the United
11
          States as an athlete performing at an internationally recognized level of performance pursuant
12

13        to 8 U.S.C. § 1101(a)(15)(P)(i). Exhibit 1 at 22. She is half of the two member team of

14        Carriera/Pomomarenko, the highest ranked competitive junior ice dance team in the world as
15
          ranked by the governing body of the sport, the International Skating Union (ISU). Exhibit 1
16
          at 60. Since 2016 they have one the following awards in their field:
17

18
     • Gold Medal: 2018 United States National Junior Championships
19   • Gold Medal: 2017 Junior Grand Prix, Belarus
     • Gold Medal: 2017 Junior Grand Prix, Austria
20   • Silver Medal: 2017 Junior Grand Prix Finals, Negoya, Japan
     • Silver Medal: 2018 Junior World Championships
21   • Gold Medal: 2017 Lake Placid Ice Dance Internationals
22   • Silver Medal: 2017 United States National Championships

     1
23    Evidence of all the facts referenced in the complaint was filed with, or by, the
24   USCIS in this matter and so should be in the administrative record. The proceeding
25
     before the agency did not involve any factual disputes.

26
         COMPLAINT                                            Michael E Piston (P34568)
                                                              Attorney for the Plaintiff
27                                                            225 Broadway, Ste 307
                                                              New York, NY 10007
28                                                            646-845-9895
                                                              michaelpiston4@gmail.com


                                                        -3-
              Case 1:18-cv-02406-APM Document 1 Filed 10/21/18 Page 4 of 14



1    • Bronze Medal: 2017 Junior World Championships
     • Silver Medal: 2016 Junior Grand Prix, France
2    • Silver Medal: 2016 Junior Grand Prix, Russia
3
     Exhibit 1 at 68 – 101.
4
     7. Ms. Carriera and her partner’s successes have led to their widespread recognition as being
5
        the top Junior ice dance team at least in the United States, and one of the top two in the
6

7       world.

8    8. For example, David Reith, Executive Director of U.S. Figure Skating, the governing body of
9
        figure skating in the United States and representative member of the International Skating
10
        Union (ISU), has stated that: "Based on the team success, Miss Carreira and Mr.
11
        Ponomarenko are considered the top U.S. dance team at this level, and are ranked
12

13      internationally among the top two teams in the world".

14   9. Mr. Reith went on to comment that "U.S. Figure Skating fully supports this petition seeking
15
        lawful permanent residence on Christina's behalf, so she may compete for the United States
16
        at all international events, and will hopefully be a competitor for the United States in winter
17
        Olympic events going forward." Exhibit 1 at 103.
18

19   10. On May 21, 2018, Ms. Carreira filed an employment-based immigrant visa petition with the

20      USCIS to be classified as an alien of extraordinary ability under 8 U.S.C. § 1153(b)(1)(A).
21      Exhibit 1.
22
     11. This petition was filed with a “Request for Premium Processing Service” and an additional
23
        filing fee of $1,225 for that Request. Exhibit 1 at 8, 11.
24

25

26
       COMPLAINT                                         Michael E Piston (P34568)
                                                         Attorney for the Plaintiff
27                                                       225 Broadway, Ste 307
                                                         New York, NY 10007
28                                                       646-845-9895
                                                         michaelpiston4@gmail.com


                                                   -4-
                Case 1:18-cv-02406-APM Document 1 Filed 10/21/18 Page 5 of 14



1    12. Premium Processing Service guarantees 15 calendar day processing of certain employment-

2         based petitions or applications. … The processing time is met if USCIS issues an approval, a
3
          request for evidence, notice of intent to deny, or a denial notice within 15 calendar days of
4
          receipt unless the case is referred for investigation of suspected fraud or misrepresentation.
5
          Once USCIS receives a response to the request for evidence or notice of intent to deny,
6

7         USCIS will guarantee 15 calendar day processing from the date the response was received.

8         https://www.uscis.gov/system/files_force/files/form/i-907instr.pdf?download=1
9
     13. Following a request for evidence and a timely response (Exhibits 2 and 3), the USCIS issued
10
          a decision on August 30, 2018 in which it conceded that Ms. Carriera satisfied two of the 10
11
          criteria to be considered an alien of extraordinary ability as set forth in 8 C.F.R. §
12

13        204.5(h)(3)2, Exhibit 4 at 4, but found that she did not meet a third of those criteria, that is

14        "documentation of (her) receipt of lesser nationally or internationally recognized prizes or
15
          awards for excellence in the field of endeavor", despite not disputing that she and her dance
16
          partner were awarded the prizes mentioned above, nor that at least some of these awards
17
          were repeatedly commented upon in national media and trade publications.
18

19

20

21

22   2
       These were that Ms. Carreira has been the subject of published material about her
23   in major media relating to her work in the in junior ice dancing, including Time
24   Magazine and the Mercury News, and her work in her field has been displayed at
25
     artistic exhibitions or showcases.

26
         COMPLAINT                                          Michael E Piston (P34568)
                                                            Attorney for the Plaintiff
27                                                          225 Broadway, Ste 307
                                                            New York, NY 10007
28                                                          646-845-9895
                                                            michaelpiston4@gmail.com


                                                      -5-
              Case 1:18-cv-02406-APM Document 1 Filed 10/21/18 Page 6 of 14



1    14. The sole reason provided by the decision for concluding that Ms. Carreira failed to establish

2       this criterion was that her awards were “limited to members of that association and
3
        participants of those competitions”. Exhibit 4 at 5.
4
     This action ensued.
5

6

7                                            JURISDICTION
8
     15. This being a civil action against the United States arising under the Immigration and
9
        Nationality Act, 8 U.S.C. § 1101 et. seq., and the Administrative Procedure Act, 5 U.S.C. §
10

11      701 et seq., both laws of the United States, original jurisdiction over this matter is vested in

12      this Court by 28 U.S.C. § 1331.
13
                                                  VENUE
14
     16. This Court has venue over this matter under 28 U.S.C. § 1391(e)(1)(A) in that the defendants
15
        reside in this judicial district.
16

17                                              STANDING

18

19
     17. Ms. Carreira has a legally protected interest in a decision by the USCIS on her Petition for an
20
        Immigrant Worker which is not arbitrary or capricious and (1) the invasion of this right has
21
        caused her concrete and particularized injury in that as a result of this invasion she has been
22

23      barred from even being considered for lawful admission to the United States for permanent

24      residence in the USCIS’s discretion; (2) there is a causal connection between the injury-in-
25
        fact and the defendant’s challenged behavior in that it is precisely the defendant’s denial of her
26
       COMPLAINT                                         Michael E Piston (P34568)
                                                         Attorney for the Plaintiff
27                                                       225 Broadway, Ste 307
                                                         New York, NY 10007
28                                                       646-845-9895
                                                         michaelpiston4@gmail.com


                                                   -6-
              Case 1:18-cv-02406-APM Document 1 Filed 10/21/18 Page 7 of 14



1       immigrant visa petition which prevents her from being considered for permanent residency

2       and (3) it is certain that the injury-in-fact will be redressed by a favorable ruling in that such a
3
        ruling will give Ms. Carreira an opportunity to apply for permanent residence which she is
4
        currently lacking. Kurapati v. U.S. Bureau of Citizenship & Immigration Servs., 775 F.3d 1255,
5
        1259-61 (11th Cir. 2014) (viewing "deprivation of an opportunity to apply for adjustment of
6

7       status" as injury), Patel v. U.S. Citizenship & Immigration Servs., 732 F.3d 633, 637-38 (6th

8       Cir. 2013) (viewing "the loss of an opportunity to become a permanent resident" as injury),
9
        Matushkina v. Nielsen, 877 F.3d 289, 293 (7th Cir. 2017) (loss of an opportunity to be granted
10
        a visa conveyed standing, even if the ultimate issuance of a visa was not certain). Accordingly,
11
        she has standing to complain of this action. Lujan v. Defs. of Wildlife, 504 U.S. 555, 560-61
12

13      (1992).

14                                         CAUSE OF ACTION
15
        I. THE DECISION SHOULD BE HELD UNLAWFUL AND SET ASIDE AS
16      ARBITRARY AND CAPRICIOUS

17      A. THE DECISION THAT AN AWARD IS NOT INTERNATIONALLY OR
           NATIONALLY RECOGNIZED SIMPLY BECAUSE ELIGIBILITY FOR IT IS
18
           LIMITED TO MEMBERS OF AN ASSOCIATION THAT COMPETE FOR IT IS
19         ARBITRARY AND CAPRICIOUS BECAUSE IT IS IRRATIONAL AND
           COMPLETELY UNRELATED TO THE PLAIN MEANING OF
20         “INTERNATIONALLY OR NATIONALLY RECOGNIZED”
21   18. The USCIS cites no authority and provides no reason, logical or otherwise, that none of the
22
        eight awards won by Ms. Carriera are nationally or internationally recognized “because it is
23
        limited to members of that association and participants of those competitions”. There is in
24

25
        fact simply no logical reason why this fact, in and of itself, would cause them to not be

26
       COMPLAINT                                          Michael E Piston (P34568)
                                                          Attorney for the Plaintiff
27                                                        225 Broadway, Ste 307
                                                          New York, NY 10007
28                                                        646-845-9895
                                                          michaelpiston4@gmail.com


                                                    -7-
               Case 1:18-cv-02406-APM Document 1 Filed 10/21/18 Page 8 of 14



1         nationally or internationally recognized, regardless of how much national or international

2         recognition these awards actually received.
3
     19. Ms. Carreira does not dispute that membership in an ISU (International Skating Union) 3
4
          member4 is required to participate in the Final of the ISU Junior Grand Prix of Figure
5
          Skating, Exhibit 3 at 32. However, such membership requirements are an explicit or at least
6

7         implicit requirement of numerous awards of wide international and national recognition. For

8         example, to be awarded the Heisman Trophy, “The most prestigious award in college
9
          football”, https://www.heisman.com/, one “MUST be a bona fide student of an accredited
10
          college or university including the United States Academies.”
11
          https://www.heisman.com/about-the-heisman/balloting-info/. Needless to say, one must also
12

13        participate in college football games. Further one can certainly not win the National

14        Football League’s Most Valuable Player Award without being a member of a team within the
15
          National Football League, nor compete in its season. Nevertheless, it would be absurd to
16
          dispute that being the NFL’s Most Valuable Player is not at least a nationally recognized
17
          award for excellence in the field of football. In fact, one cannot win an Olympic Gold medal
18

19        without being a member of an National Olympic team and to actually compete in the

20

     3
21     “The International Skating Union, founded in 1892, is the exclusive international
22   sport federation recognized by the International Olympic Committee
     (IOC) administering sports in the Branches of Figure Skating and Speed Skating
23
     throughout the world.” https://www.isu.org/about-international-skating-union.
24
     4
25
         Such members include U.S. Figure Skating. Exhibit 1 at 103.

26
         COMPLAINT                                       Michael E Piston (P34568)
                                                         Attorney for the Plaintiff
27                                                       225 Broadway, Ste 307
                                                         New York, NY 10007
28                                                       646-845-9895
                                                         michaelpiston4@gmail.com


                                                   -8-
              Case 1:18-cv-02406-APM Document 1 Filed 10/21/18 Page 9 of 14



1       Olympics. Such facts are so well known as to require no authority and are indistinguishable

2       from the instant situation, for the simple reason that whether an award is limited to members
3
        of a particular association, such as a member of the ISU, simply has no logical relationship to
4
        it being internationally or nationally recognized.
5
     20. Although the USCIS does not cite authority for its conclusory assertion that the limitation of
6

7       the Grand Prix Final Competition of the ISU Junior Grand Prix of Figure Skating to persons

8       who belong to an ISU Member, one might speculate that it is derived from the following
9
        comment in the USCIS’s Adjudicator’s Field Manual (AFM):
10

11
            Relevant considerations regarding whether the basis for granting the prizes or awards was
12
            national or international recognition for excellence in the field include, but are not limited
13          to:
            - The number of awardees or prize recipients as well as any limitations on competitors
14          (an award limited to competitors from a single institution, for example, may have little
            national or international significance;
15

16   AFM 22.2(i)(1)

17   21. If this is the basis of the USCIS’s decision, then it has obviously been completely
18
        misconstrued, in at least three (3) distinct ways.
19
     22. First, an institution is not the same as an association, such as members of the International
20
        Skating Union. The Oxford Dictionary offers the following (relevant) definitions of an
21

22      “institution”:

23
            An organization founded for a religious, educational, professional, or social purpose.
24          ‘an academic institution’
25
            ‘a certificate from a professional institution’

26
       COMPLAINT                                         Michael E Piston (P34568)
                                                         Attorney for the Plaintiff
27                                                       225 Broadway, Ste 307
                                                         New York, NY 10007
28                                                       646-845-9895
                                                         michaelpiston4@gmail.com


                                                   -9-
              Case 1:18-cv-02406-APM Document 1 Filed 10/21/18 Page 10 of 14



1           Synonyms
            1.      1.1 An organization providing residential care for people with special needs.
2           ‘about 5 per cent of elderly people live in institutions’
            Synonyms
3
            2.      1.2 An established official organization having an important role in a society,
4           such as the Church or parliament.
            ‘the institutions of democratic government’
5
     23. These definitions all have in common the word “organization” which the Oxford Dictionary
6

7       defines primarily as “An organized group of people with a particular purpose, such as a

8       business or government department.”
9
     24. The definition of association, “(often in names) a group of people organized for a joint
10
        purpose.”‘ may sound similar, but the examples offered, such as “the National Association of
11
        Probation Officers”, demonstrate the distinction. A business or a government department is
12

13      certainly distinctly different from a group of probation officers. One involves a group of

14      people who dedicate their efforts full time towards forwarding the purpose of the
15
        organization (or institution), the other constitutes a group which may come together from
16
        time to time to pursue common goals, but whose full time employment is separate.
17

18
     25. So too it is apparent that when the AFM refers to an award limited to an “institution” it
19
        means a single, discrete entity, such as a university, a business or a hospital, and not a loose
20
        group of affiliated organizations, such as accredited colleges or NFL league teams. The use
21

22      of the word “institution” can in no way be interpreted to mean that the USCIS did not

23      consider that an award issued by an association to one of its members cannot be considered
24      internationally or nationally recognized
25

26
       COMPLAINT                                        Michael E Piston (P34568)
                                                        Attorney for the Plaintiff
27                                                      225 Broadway, Ste 307
                                                        New York, NY 10007
28                                                      646-845-9895
                                                        michaelpiston4@gmail.com


                                                   - 10 -
               Case 1:18-cv-02406-APM Document 1 Filed 10/21/18 Page 11 of 14



1

2    26. Second, in no sense was the statement in the Adjudicator’s Field Manual intended to mean
3
          that an award issued even by an institution, much less an association, could never be
4
          internationally recognized. It merely stated that it “may” 5 not be internationally or nationally
5
          recognized. Nothing in the AFM authorizes a finding that an award is not internationally or
6

7         nationally recognized simply because it was issued by an institution, and for no other reason.

8    27. Finally, the caution that an award issued by an institution “may have little national or
9
          international significance” was apparently intended merely as a factor to be considered in
10
          determining whether an award was nationally or internationally recognized and certainly not
11
          to replace the ultimate determination itself. For example, a DHS officer might be reasonably
12

13        informed that “most Americans speak English” and therefore one should look with

14

     5
15     The Oxford Online Dictionary offers several definitions of “may”, only one of
16   which is remotely applicable here: “Used to ask for or to give permission.
     ‘you may confirm my identity with your Case Officer, if you wish’
17
     ‘may I ask a few questions?’
18   …
     ‘None of the text or images from this site may be reproduced in whole or part
19
     without written permission.’ Accordingly there is no circumstances in which the
20
     word “may” can convey the idea that an award issued by an institution must not be
21   considered to be nationally or internationally recognized, control his employ, but
22   rather shows that he merely has permission to do – that is that he has the right to
     control, whether he chooses to exercise it or not. Or perhaps to cite a more familiar
23
     example, the fact that a court “may” grant oral argument in a case certainly doesn’t
24
     oblige it to do so.
25

26
         COMPLAINT                                        Michael E Piston (P34568)
                                                          Attorney for the Plaintiff
27                                                        225 Broadway, Ste 307
                                                          New York, NY 10007
28                                                        646-845-9895
                                                          michaelpiston4@gmail.com


                                                     - 11 -
                 Case 1:18-cv-02406-APM Document 1 Filed 10/21/18 Page 12 of 14



1          skepticism upon the claims of a person speaking exclusively Spanish to be a U.S. citizen, but

2          that certainly would not authorize him to take into detention a Spanish only speaker who
3
           nevertheless possessed a valid U.S. passport.
4

5
     28. Here the record demonstrates that Ms. Carreira’s awards were in fact nationally, and
6

7          internationally, recognized. No less prominent a publication than Time Magazine expressly

8          mentioned that she and her partner won the U.S. Juniors title as well as the bronze award at
9
           the world junior dance skating championship in 20176. Exhibit 1 at 178. Likewise their
10
           winning the 2018 U.S. junior ice dancing competition the U.S. Skating Championships were
11
           mentioned in the Mercury News, Exhibit 1 at 182, a newspaper with the 7th largest Sunday
12

13         circulation in America. Exhibit 3 at 105. Further, their various awards were repeatedly

14         referenced in articles written about them in major trade publications such as Skating
15
           Magazine, Exhibit 3 at 80-88, the official publication of US Figure Skating7, and at
16
           IceNetwork.com, Exhibit 3 at 101-107, “the most widely recognized news source for the
17
           international and domestic skating world” and which is now a part of the NBC Sports group.
18

19         Exhibit 3 at 136.

20
     6
         As noted above, they placed 2nd at 2018 World Championship.
21
     7
22
       Exhibit 3 at 77. The courts have found it to be "self-evident that the website of
     the world's premier professional bull riding association is a major publication for
23   professional bull riding." Eguchi v. Kelly, Civil Action No. 3:16-CV-1286-D, 2017
24   U.S. Dist. LEXIS 104974, at *10 (N.D. Tex. June 23, 2017) and that the National
     Hockey League's ("NHL's") own magazine was major trade publication. Muni v.
25
     I.N.S., 891 F. Supp. 440, 444 (E.D. Ill. 1995).
26
          COMPLAINT                                           Michael E Piston (P34568)
                                                              Attorney for the Plaintiff
27                                                            225 Broadway, Ste 307
                                                              New York, NY 10007
28                                                            646-845-9895
                                                              michaelpiston4@gmail.com


                                                         - 12 -
              Case 1:18-cv-02406-APM Document 1 Filed 10/21/18 Page 13 of 14



1

2    29. Therefore .the mere fact that the U.S. junior ice dance competition is limited to members of
3
        International Skating Union does not in itself change the fact that it is nationally recognized
4
        by such major media as Time Magazine, the Mercury News, IceNetwork.com and Skating
5
        Magazine, any more than the fact that the Heisman Trophy is limited to students at accredited
6

7       universities or the NFL’s MVP Award is limited to the employees of NFL clubs is in itself a

8       basis for disregarding the fact of their international recognition.
9

10
     30. 5 U.S.C. § 706 provides in relevant part that in an action for judicial review under the
11
        Administrative Procedure Act
12

13
             The reviewing court shall—
14
            (1)compel agency action unlawfully withheld or unreasonably delayed; and
15          (2)hold unlawful and set aside agency action, findings, and conclusions found to be—
            (A)arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law;
16

17   31. An irrational decision is arbitrary and capricious. Dunlop v. Bachowski, 421 U.S. 560, 574-
         75, 44 L. Ed. 2d 377, 95 S. Ct. 1851 (1975) (citations omitted) overruled in not relevant part
18
         by Furniture & Piano Moving, Furniture Store Drivers, Helpers, Warehousemen & Packers
19       v. Crowley, 467 U.S. 526, 549-50 n. 22, 81 L. Ed. 2d 457, 104 S. Ct. 2557 (1984).
20
     32. The USCIS’s decision to deny this petition because it found that the multiple awards won by
21
         Ms. Carriera and her partner in the field of junior international dance skating, including their
22
         Gold Medal in the 2018 United States National Championships, and their top global rankings
23       were not nationally or internationally recognized awards, despite being written about in
24       major media such as Time Magazine and Mercury News, and major trade publications such
         as Skating Magazine and IceNetwork.com, merely because it is limited to members of
25

26
       COMPLAINT                                        Michael E Piston (P34568)
                                                        Attorney for the Plaintiff
27                                                      225 Broadway, Ste 307
                                                        New York, NY 10007
28                                                      646-845-9895
                                                        michaelpiston4@gmail.com


                                                   - 13 -
              Case 1:18-cv-02406-APM Document 1 Filed 10/21/18 Page 14 of 14



1        associations which are members of the ISU who participate in those competitions, was
2        irrational and so arbitrary and capricious in that the limitation of the winners of these awards
         to such members and participants bears no logical relationship to the question of whether
3
         such awards are nationally or internationally recognized, and is in fact contrary to the plain
4
         language of these terms.
5

6

7                          CONCLUSION

8            Inasmuch as the decision in this matter is arbitrary and capricious, an abuse of discretion,
9    and not in accordance with law, it should be held unlawful and set aside. Further, consistent with
10
     the Instruction to the Form I-907 filed by Ms. Carriera in this matter, the USCIS should make a
11
     new decision on this petition within 15 days of its initial decision being set aside.
12

13
     Respectfully Submitted
14
     s/ Michael E. Piston
15   Michael E. Piston
     Attorney for the Plaintiff
16
     Dated:
17
                                               EXHIBIT LIST
18
     1. Initial Petition
19

20   2. Request For Evidence (RFE)

21   3. Response to RFE
22
     4. Decision
23

24

25

26
       COMPLAINT                                         Michael E Piston (P34568)
                                                         Attorney for the Plaintiff
27                                                       225 Broadway, Ste 307
                                                         New York, NY 10007
28                                                       646-845-9895
                                                         michaelpiston4@gmail.com


                                                    - 14 -
